Case 1:15-cv-07001-JBS-AMD Document 5 Filed 02/22/16 Page 1 of 2 PageID: 14




                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                  :
Jessica and Michael Lawver,                       :
                                                  :
                       Plaintiffs,                :
                                                  :
                                                    Civil Action No.: 1:15-cv-07001-JBS-AMD
       v.                                         :
                                                  :
AmSher Collection Services, Inc.; and DOES        :
                                                                                                     (
1-10, inclusive,                                  :
                                                                                                     D
                                                  :
                                                                                                     R
                       Defendants.                :
                                                                                                     H
                                                  :

                                     NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiffs anticipate filing a notice of voluntary dismissal pursuant to FED. R.

CIV. P. 41(a) within 60 days.


Dated: February 22, 2016

                                              Respectfully submitted,

                                              By: /s/ Sofia Balile

                                              Sofia Balile, Esq.
                                              Lemberg Law, LLC
                                              43 Danbury Road, 3rd Floor
                                              Wilton, CT 06897
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Case 1:15-cv-07001-JBS-AMD Document 5 Filed 02/22/16 Page 2 of 2 PageID: 15




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2016, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court District of New Jersey
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sofia Balile_________

                                                    Sofia Balile
